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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS
                         MARSHALL DIVISION


PUNGKUK EDM WIRE                        )
                                        )
MANUFACTURING CO., LTD.,                )
                                        )
Plaintiff                               )   Case No.: 2:18-CV-244-JRG
                                        )
                                        )
v.                                      )
                                        )   JURY TRIAL DEMANDED
                                        )
OPECMADE INC. AND OPEC                  )
ENGINEERING CO., LTD.,                  )
                                        )
Defendants                              )
                                        )
                                        )
                                        )
                                        )


___________________________________________________________________________

        DEFENDANTS’ MOTION TO TRANSFER UNDER 28 U.S.C. § 1404(a)

___________________________________________________________________________
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   I.      INTRODUCTION

           This is a patent infringement case concerning a patent for electrical discharge

machining (“EDM”) wires used to cut hard materials such as steel under the control of a

computer. See Doc. 1, Complaint for Patent Infringement and attached exhibits. Defendant

OPEC Engineering Co., Ltd., doing business as OPECMADE INC. (“OPEC”) hereby submits its

motion for transfer of this action to the Northern District of Illinois under 28 U.S.C. 1404(a).

Defendant OPEC respectfully submits that the circumstances of this case support transfer to the

Northern District of Illinois under section 1404(a).

   II.     BASIC FACTS

           Both OPEC and Plaintiff Pungkuk Wire Manufacturing Co., Ltd. (“Pungkuk”) in this

case are corporations formed under the laws of the Republic of Korea.

           There is a patent infringement case pending between the parties to this case in the

Northern District of Illinois, designated as Ki Chul Seong and OPEC v. PAPS USA, LLC and

Pungkuk EDM Wire Manufacturing Co.; USDC Northern District of Illinois, Eastern Division;

1:15-CV-02234 (“Prior Action”). The Prior Action concerns the same types of products as those

involved in this case, namely zinc coated EDM wires. OPEC is a plaintiff in the Prior Action

which has been pending since March 13, 2015. The EDM wire patents asserted in the Prior

Action, owned by Ki Chul Seong, CEO of OPEC and a co-plaintiff in the Prior Action, were

challenged on the grounds of invalidity by Pungkuk before the U.S. Patent and Trial Appeal

Board in Inter Parte Review proceedings.           OPEC’s EDM wire patents survived those

proceedings. A few of the claims of one of OPEC’s three patents were conceded to be invalid

by OPEC. Exhibit E (the last page).
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   III.    ARGUMENT

           A. The Claims Against OPEC in this Action Could Have Been Filed in the

           Northern District of Illinois

           Section 1404(a) provides that “[f]or the convenience of parties and witnesses, in the

interest of justice, a district court may transfer any civil action to another district or division

where it might have been brought.” [emphasis added].

           Therefore, an issue in a § 1404(a) motion is whether the present lawsuit “might have

been brought” in the proposed transferee district. See In re Genentech, Inc., 566 F.3d 1338,

1341-42 (Fed. Cir. 2009). A federal court where a patent infringement case “might have been

brought” must have personal jurisdiction and proper venue over the defendant. Id.

           OPEC has only four customers for its allegedly infringing EDM wire products in the

United States: three in the Northern District of Illinois, near Chicago, and one in the Central

District of California, near Los Angeles. See Seong Declaration, Exhibit A, at ¶ 2. Therefore,

the Northern District of Illinois has personal jurisdiction over OPEC because the alleged

infringements of the patent in this lawsuit occurred there. See Seong Declaration, Exhibit A, ¶ 2.

Venue would also be proper in that District. See 28 U.S.C. §§ 1391(c)(3) and 1400(b).

           In addition to the foregoing, Pungkuk could have brought its claim as a counterclaim

in the pending action in the Northern District of Illinois but chose not to do so.

           B.    Under Section 1404(a), “Private Interest Factors” and “Public Interest

           Factors” Are Considered in Determining Whether Transfer is Proper

           In determining a section 1404(a) motion to transfer, the Fifth Circuit applies “private”

and “public” interest factors for determining whether to transfer a case as follows:
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               “[T]he private interest factors include ‘(1) the relative ease of access to

       sources of proof; (2) the availability of compulsory process to secure the

       attendance of witnesses; (3) the cost of attendance for willing witnesses; and (4)

       all other practical problems that make trial easy, expeditious and inexpensive.’ …

                The public interest factors include “(1) the administrative difficulties

       flowing from court congestion; (2) the local interest in having localized interests

       decided at home; (3) the familiarity of the forum with the law that will govern the

       case; and (4) the avoidance of unnecessary problems of conflicts of laws [or] the

       application of foreign law.”

In re TS Tech USA Corp., 551 F.3d 1315, 1319 (Fed. Cir. 2008); see also In re Volkswagen of

America, Inc., 545 F.3d 304, 315 (5th Cir. 2008).

               1. Private Interest Factors

                     a. The Ease of Access to Sources of Proof is Best Found in the Northern

                     District of Illinois

       Many, if not most, of the alleged infringements in this case stem from the Northern

District of Illinois where three of OPEC’s total of four customers in the United States do

business. See Seong Declaration, Exhibit A, at ¶ 2. Thus, testimonial evidence of alleged

infringement and damages would be substantially more accessible in the proposed transferee

court, the Northern District of Illinois, than any other District in the U.S., including the Eastern

District of Texas.

       Apart from documents in the Republic of Korea at the offices of OPEC concerning, for

example, manufacturing, product development and international sales, the Northern District of
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Illinois is where the vast majority of documents in the U.S. that provide evidence of OPEC’s

product sales, and thus potential damages, would be found. Id, at ¶4.

        On the other hand, not one of OPEC’s U.S. customers is in the Eastern District of Texas,

or even remotely close to that district.      Id, at ¶ 6.   Nor is there any known evidence of

infringement or alleged damages in the Eastern District of Texas. Even if there are some

allegedly infringing sales in the Eastern District of Texas by OPEC’s customers in the U.S., they

are likely to be negligible compared to the U.S. as a whole in view of the number of federal

districts in the U.S. In any event, the best “sources of proof” of even the sales in the Eastern

District of Texas would be far more efficiently evidenced at the business locations of the

customers of OPEC in Illinois (and less so in California where one of OPEC’s U.S. customers

resides).

                   b. The Availability of Compulsory Process to Secure the Attendance of

                   Witnesses is Most Expedient in the Northern District of Illinois

        As noted above, the business locations of three out of a total of four U.S. customers of

OPEC are in the Chicago metropolitan area. Seong Declaration, Exhibit A, at ¶2. A venue

location in the Northern District of Illinois is well within the 100 mile service of process limit for

compulsory appearance of individuals to testify as witnesses who work at OPEC’s corporate

customers. On the other hand, those key witnesses are approximately a thousand miles from the

Eastern District of Texas.

                   c. The Cost of the Attendance of Willing Witnesses is Lower in the

                   Northern District of Illinois than in the Eastern District of Texas

        Furthermore, two patent attorneys who prosecuted Pungkuk’s patent in suit in the U.S.

Patent and Trademark Office are located in Michigan, only 200 to 300 miles from the Northern
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District of Illinois. Park Declaration, Exhibit B, at ¶¶3-5. On the other hand, those witnesses

would be more than a thousand miles from the Eastern District of Texas. Therefore, the cost of

attendance of those witnesses at trial would be much lower, in both money and time, if the

Northern District of Illinois is the site of trial in this case.

        Additionally, in terms of airplane mileage, the cost of travel from Korea to the U.S.,

bringing the witnesses of both parties located in Korea, is slightly better in Chicago because

flights from Seoul, Korea to the Northern District of Illinois are about 500 fewer air miles than

such flights to the Eastern District of Texas. Exhibit G.

                    d. Other Practical Problems that Make Trial Easier, More Expeditious

                    and Less Expensive Also Point to the Northern District of Illinois as the

                    Proper Forum

        The U.S. federal courts involved, as well as the parties, would benefit from having this

case transferred to the Northern District of Illinois.

        First, Northern District of Illinois Judge Manish S. Shah is becoming familiar with EDM

wire technology as the case brought by OPEC proceeds. The three Seong patents in OPEC’s

Illinois patent infringement case have almost word-for-word identical specifications.            See

Exhibits C through E. One of those Seong patents (U.S. Patent No. 6,306,523 B1, Exhibit C)

was cited by the Patent Office examiner in the application for U.S. Patent No. 7,723,635 B2, the

patent in suit alleged to be infringed in this case. See Exhibit F.

        Moreover, as illustrated by example below, the claims of the Seong patents in the Illinois

action and the Shin patent (patent in suit) in this case are technologically and structurally similar

in many respects.
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        Claim 14 of the Seong patent designated as U.S. Patent No. 6,306,523 B1, Exhibit C, and

that is a patent at issue in the Illinois case, includes the following limitations:

        14.     An electrode wire for use in electrical discharge machining comprising:

                a core wire …;

                an alloy layer formed on the core wire; and

                a coating layer on the alloy layer … wherein cracks are formed in the alloy layer

                and the coating layer ….

                Claim 1 of U.S. Patent No. 7,723,635 B2, Exhibit F, that is the subject of this

                action has the following limitations:

        1.      An electrode wire for electric discharge machining comprising:

               a core;

               a covering layer formed on a periphery of the core; and grains formed on the

                covering layer …

               wherein the grains are spaced from one another on a periphery of the covering

                layer and the covering layer is formed between the grains to surround the grains.

        In view of the above claims in the Illinois case and this case, the technology issues are

similar in the two cases. Therefore, factually, the accumulated experience of District Court in

the OPEC cases in the Northern District of Illinois enhances the efficiency of a trial in that

district. Moreover, presenting a case with very similar technology with the patent in this case

before a single court would be more efficient for the judicial system as a whole.

                2. Public Interest Factors

                    a. The administrative difficulties flowing from court congestion
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         The administrative difficulties of proceeding in the Northern District of Illinois are

reduced for the reasons discussed above in the immediately preceding section of this brief. The

added burden would be less in the Northern District of Illinois than in this District, in view of the

pending lawsuit involving OPEC’s patents in that court.

                    b. The local interest in having localized interests decided at home

         The local interest in this case also favors transfer. Concerning the U.S. federal courts, the

local interest is clearly higher in the Northern District of Illinois because of the three companies

in that district who are customers of OPEC (out of only four such customers in the U.S.) See

Seong Declaration, Exhibit A, at ¶ 2. OPEC has no customers in the Eastern District of Texas.

         As for Pungkuk’s customers, OPEC does not have any information about that issue.

                    c. The familiarity of the forum with the law that will govern the case

         Since the IPR cases against OPEC’s three patents proceeded in the U.S. Patent and Trial

Appeal Board, not before Judge Shah, and the Illinois case is still in the discovery phase,

addressing the application of the law to the Northern District of Illinois case has not been

required as yet.

                    d. The avoidance of unnecessary problems of conflicts of laws or the

                    application of foreign law

         OPEC is not aware of any conflicts of law or foreign law issues in either of the pending

cases.

         C.    The “Private Interest Factors” and “Public Interest Factors” Support the
               Northern District of Illinois as the Proper Forum for this Case

         In view of the foregoing, OPEC respectfully moves this Court to transfer this case to the

Northern District of Illinois.
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DATED: August 9, 2018                             Respectfully Submitted,

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                                                  OPECMADE, Inc. (“OPEC”)


                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system per Local Rule CV-5(a)(3) on August 9, 2018. All other counsel not deemed

to have consented to service in such manner will be served via facsimile transmission and/or

first class mail.


                                                  /s/ Trey Yarbrough
                                                  Trey Yarbrough
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                             CERTIFICATE OF CONFERENCE


       I, John K. Park, an attorney for Defendant OPEC Engineering Co., LTD, doing business as

OPECMADE Inc. (“OPEC”), certify that Counsel has complied with the meet and confer

requirement in LOCAL RULE CV-7(h). As result, this motion is opposed.

       The parties met and conferred by telephone on August 7, 2018. At the teleconference were

Ms. Kalai Wineland, attorney for Plaintiff Pungkuk EDM Wire Manufacturing Co., LTD, and John

Park, representing Defendant OPEC. No agreement was reached and discussions have conclusively

ended in an impasse, leaving an open issue for the Court to resolve.



                                                    /s/ John K. Park
                                                    John K. Park
